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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


 In re:                                                   Chapter 11

 Mallinckrodt PLC, et al.,                                Case No. 20-12522 (JTD)
                                                          Jointly Administered
                          Debtor(s).



 Heather L. Barlow as Trustee of the
 Mallinckrodt General Unsecured Claims Trust,
                                                          Adversary No. 22-50430-JTD
                          Plaintiff,
 v.

 Stratacom, Inc.,

                          Defendant.


          DEFENDANT’S ANSWER TO COMPLAINT FOR AVOIDANCE AND
      RECOVERY OF PREFERENTIAL TRANSFERS AND OBJECTION TO CLAIMS

          Stratacom Inc. (the “Defendant”), by and through its undersigned counsel and pursuant to

Rule 7008 of the Federal Rules of Bankruptcy Procedure, submits this answer (the “Answer”) to

the Complaint for Avoidance and Recovery of Preferential Transfers and Objection to Claims

[Adv. D.I. 1] (the “Complaint”) filed by Heather L. Barlow as Trustee of the Mallinckrodt General

Unsecured Claims Trust (the “Plaintiff”) as follows:

                                       NATURE OF THE ACTION

          1.     The allegations of this paragraph do not set forth assertions of fact, and, as such, no

response is required. To the extent a response is required, Defendant admits that, through this

lawsuit, Plaintiff seeks to avoid and recover from Defendant certain transfers, pursuant to sections

547 and 550 of the Bankruptcy Code, and denies all remaining allegations of this paragraph.
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       2.         The allegations of this paragraph do not set forth assertions of fact, and, as such, no

response is required. To the extent a response is required, Defendant admits that, through this

lawsuit, Plaintiff also seeks to disallow any claim that Defendant has filed or asserted, pursuant to

section 502 of the Bankruptcy Code, and denies all remaining allegations of this paragraph.

                                            THE PARTIES

       3.         Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of this paragraph, and denies the allegation of this paragraph on that basis.

       4.         Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of this paragraph, and denies the allegation of this paragraph on that basis.

       5.         Defendant admits that it is a North Dakota corporation, and that it provided IT

services to certain of the debtor(s). Defendant denies all remaining allegations of this paragraph.

                                   JURISDICTION AND VENUE

       6.         The allegations of this paragraph do not set forth assertions of fact, and, as such, no

response is required. To the extent a response is required, Defendant admits that this Court has

subject matter jurisdiction over this adversary proceeding, and denies all remaining allegations of

this paragraph.

       7.         The allegations of this paragraph do not set forth assertions of fact, and, as such, no

response is required. To the extent a response is required, Defendant admits this adversary

proceeding is a “core” proceeding pursuant to 28 U.S.C. § 157, and denies all remaining allegations

of this paragraph.

       8.         The allegations of this paragraph do not set forth assertions of fact, and, as such, no

response is required. To the extent a response is required, Defendant admits that Plaintiff consents

to the entry of final order or judgments by the Court, denies all remaining allegations of this


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paragraph, and affirmatively states that it does not likewise consent to the entry of final orders or

judgments by the Court if it is determined that the Court, absent consent of the parties, cannot enter

final order or judgments consistent with Article III of the United States Constitution.

       9.      The allegations of this paragraph do not set forth assertions of fact, and, as such, no

response is required. To the extent a response is required, Defendant admits that venue is proper

in this district pursuant to 28 U.S.C. § 1409, and denies all remaining allegations of this paragraph.

                                 BASIS FOR RELIEF REQUESTED

       10.     The allegations of this paragraph do not set forth assertions of fact, and, as such, no

response is required. To the extent a response is required, Defendant admits that the relief sought

by Plaintiff in the Complaint is predicated on sections 502, 547 and 550 of the Bankruptcy Code

and Rules 3007 and 7001 of the Federal Rules of Bankruptcy Procedure, and denies all remaining

allegations of this paragraph.

                                 PROCEDURAL BACKGROUND

       11.     Defendant admits the allegations of this paragraph.

       12.     Defendant admits the allegations of this paragraph.

       13.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of this paragraph, and denies the allegation of this paragraph on that basis.

       14.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of this paragraph, and denies the allegation of this paragraph on that basis.

       15.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of this paragraph, and denies the allegation of this paragraph on that basis.

       16.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of this paragraph, and denies the allegation of this paragraph on that basis.




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                                   FACTUAL BACKGROUND

       17.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of this paragraph, and denies the allegation of this paragraph on that basis.

       18.     Defendant admits that it provided IT services to certain of the debtor(s). Defendant

denies all remaining allegations of this paragraph.

       19.     Defendant admits that certain of the debtor(s) paid Defendant $220,312.50 in the

Preference Period. Defendant denies all remaining allegations of this paragraph, and affirmatively

states that Exhibit A to the Complaint does not provide all relevant details of the transfers at issue,

and that Plaintiff is not entitled to the order and judgment it seeks.

       20.     Defendant admits that certain of the debtor(s) paid Defendant $220,312.50 in the

Preference Period. Defendant denies all remaining allegations of this paragraph, and affirmatively

states that Exhibit A to the Complaint does not provide all relevant details of the transfers at issue,

and that Plaintiff is not entitled to the order and judgment it seeks.

       21.     Defendant admits that certain of the debtor(s) paid Defendant $220,312.50 in the

Preference Period. Defendant denies all remaining allegations of this paragraph.

       22.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of this paragraph, and denies the allegation of this paragraph on that basis.

       23.     The allegations of this paragraph do not set forth assertions of fact, and, as such, no

response is required. To the extent a response is required, Defendant admits that it is Plaintiff’s

intention to avoid and recover all preference period transfers. Defendant denies all remaining

allegations of this paragraph, and affirmatively states that Plaintiff is not entitled to the order and

judgment it seeks.




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          24.   Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of this paragraph, and denies the allegation of this paragraph on that basis.

          25.   Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of this paragraph, and denies the allegation of this paragraph on that basis.

          26.   The allegations of this paragraph do not set forth assertions of fact, and, as such, no

response is required. To the extent a response is required, Defendant admits that it is Plaintiff’s

intention to avoid and recover all preference period transfers whether or not such transfers are

reflected in Exhibit A, admits that Plaintiff wishes to reserve its right to amend the Complaint,

denies all remaining allegations of this paragraph, and affirmatively states that Plaintiff is not

entitled to the order and judgment it seeks.

                                  FIRST CLAIM FOR RELIEF

                    (Avoidance of Preferential Transfers - 11 U.S.C. § 547)

          27.   Defendant repeats and realleges its responses set forth above as if fully set forth

herein.

          28.   Defendant admits that certain of the debtor(s) paid Defendant $220,312.50 in the

Preference Period. Defendant denies all remaining allegations of this paragraph, and affirmatively

states that Exhibit A to the Complaint does not provide all relevant details of the transfers at issue.

          29.   Defendant admits that certain of the debtor(s) paid Defendant $220,312.50 in the

Preference Period. Defendant denies all remaining allegations of this paragraph.

          30.   Defendant admits that certain of the debtor(s) paid Defendant $220,312.50 in the

Preference Period. Defendant denies all remaining allegations of this paragraph.




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          31.   The allegations of this paragraph do not set forth assertions of fact, and, as such, no

response is required. To the extent a response is required, Defendant denies the allegations of this

paragraph, and affirmatively states that Plaintiff is not entitled to the order and judgment it seeks.

          32.   The allegations of this paragraph do not set forth assertions of fact, and, as such, no

response is required. To the extent a response is required, Defendant denies the allegations of this

paragraph, and affirmatively states that Plaintiff is not entitled to the order and judgment it seeks.

          33.   Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of this paragraph, and denies the allegation of this paragraph on that basis.

          34.   Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations of this paragraph, and denies the allegation of this paragraph on that basis.

          35.   The allegations of this paragraph do not set forth assertions of fact, and, as such, no

response is required. To the extent a response is required, Defendant denies the allegations of this

paragraph, and affirmatively states that Plaintiff is not entitled to the order and judgment it seeks.

          36.   Defendant admits that certain of the debtor(s) paid Defendant $220,312.50 in the

Preference Period. Defendant denies all remaining allegations of this paragraph.

          37.   The allegations of this paragraph do not set forth assertions of fact, and, as such, no

response is required. To the extent a response is required, Defendant denies the allegations of this

paragraph, and affirmatively states that Plaintiff is not entitled to the order and judgment it seeks.

                                SECOND CLAIM FOR RELIEF

                             (Recovery of Property – 11 U.S.C. § 550)

          38.   Defendant repeats and realleges its responses set forth above as if fully set forth

herein.




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          39.   The allegations of this paragraph do not set forth assertions of fact, and, as such, no

response is required. To the extent a response is required, Defendant denies the allegations of this

paragraph, and affirmatively states that Plaintiff is not entitled to the order and judgment it seeks.

          40.   The allegations of this paragraph do not set forth assertions of fact, and, as such, no

response is required. To the extent a response is required, Defendant denies the allegations of this

paragraph.

          41.   The allegations of this paragraph do not set forth assertions of fact, and, as such, no

response is required. To the extent a response is required, Defendant denies the allegations of this

paragraph, and affirmatively states that Plaintiff is not entitled to the order and judgment it seeks.

                                  THIRD CLAIM FOR RELIEF

    (Objection to Defendant’s Claims – Disallowance Under 11 U.S.C. § 502(d) and (j))

          42.   Defendant repeats and realleges its responses set forth above as if fully set forth

herein.

          43.   The allegations of this paragraph do not set forth assertions of fact, and, as such, no

response is required. To the extent a response is required, Defendant denies the allegations of this

paragraph, and affirmatively states that Plaintiff is not entitled to the order and judgment it seeks.

          44.   Defendant denies the allegations of the paragraph, and affirmatively states that it is

not liable under 11 U.S.C. § 550.

          45.   The allegations of this paragraph do not set forth assertions of fact, and, as such, no

response is required. To the extent a response is required, Defendant denies the allegations of this

paragraph, and affirmatively states that Plaintiff is not entitled to the order and judgment it seeks.




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        46.    The allegations of this paragraph do not set forth assertions of fact, and, as such, no

response is required. To the extent a response is required, Defendant denies the allegations of this

paragraph, and affirmatively states that Plaintiff is not entitled to the order and judgment it seeks.

        47.    The allegations of this paragraph do not set forth assertions of fact, and, as such, no

response is required. To the extent a response is required, Defendant denies the allegations of this

paragraph, and affirmatively states that Plaintiff is not entitled to the order and judgment it seeks.

        Pertaining to the WHEREFORE clauses following paragraph 47, Defendant denies the

allegations thereof, and affirmatively states that Plaintiff is not entitled to the order and judgment

it seeks.

                                            GENERAL

        1.     To the extent that any allegations of the Complaint are not responded to in the

paragraphs above, such allegations are denied.

                                  AFFIRMATIVE DEFENSES

        2.     Defendant hereby sets forth the following defenses, without admitting that any of

them technically are “affirmative defenses” and/or that Defendant bears the burden of proof or

persuasion with respect to any of these defenses.

        3.     The Complaint fails to state a claim upon which relief can be granted.

        4.     The transferor(s) never conducted business or had a debtor-creditor relationship

with Stratacom Inc.

        5.     The Plaintiff’s claims are barred in whole or in part to the extent that the debtor(s)

were not insolvent at the time of any of the transfers at issue.

        6.     The transfers at issue: (a) were intended to be a contemporaneous exchange for new

value given to the debtor(s) and (b) in fact were substantially contemporaneous exchanges.




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         7.    The transfers at issue were in payment of a debt incurred in the ordinary course of

business or financial affairs, and were made: (a) in the ordinary course of business or financial

affairs and/or (b) according to ordinary business terms.

         8.    After the transfers at issue were made, Defendant gave new value (a) not secured

by an otherwise unavoidable security interest and (b) on account of which new value the Debtor(s)

did not make an otherwise unavoidable transfer to or for the benefit of Defendant.

         9.    To the extent Defendant’s contracts were assumed, or assumed and assigned, in the

Debtor(s) bankruptcy case, Plaintiff is estopped from pursuing the claims asserted in the

Complaint.

         10.   To the extent Defendant was under the obligation to transmit allegedly preferential

payments received from the debtor(s) to one or more third-parties, Defendant’s role in such

transfers was limited to that of a “mere conduit.” Accordingly, to the extent it acted as a mere

conduit, Defendant is not an initial transferee for purposes of 11 U.S.C. § 550, and the payments

characterized as preferential in the Complaint are not avoidable.

         11.   The Plaintiff’s claims may be barred in whole or in part by the expiration of the

limitations period specified in 11 U.S.C. § 546.

         12.   The Plaintiff’s claims may be barred, in whole or in part, because the named

Plaintiff lacks standing to sue the Defendant.

         13.   The Plaintiff’s claims may be barred in whole or in part by the doctrine of unclean

hands.

         14.   The Plaintiff’s claims may be barred in whole or in part by the doctrine of estoppel.

         15.   The Plaintiff’s claims may be barred in whole or in part by the doctrines of waiver,

laches and/or ratification.




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           16.    The Plaintiff’s claims may be barred, in whole or in part, by the doctrine of in pari

delicto.

           17.    The Complaint is barred in whole or in part by the doctrine of unjust enrichment,

set-off and/or recoupment.

RESERVATION OF RIGHTS TO ASSERT ADDITIONAL AFFIRMATIVE DEFENSES

           18.    Defendant reserves the right to amend this answer to assert additional affirmative

defenses that become known to Defendant through discovery or otherwise.

           WHEREFORE, Defendant respectfully requests that judgment be entered in its favor and

against the Plaintiff:

           a) Dismissing all counts in the Complaint with prejudice and on the merits;

           b) Awarding Defendant all attorneys’ fees, costs and expenses incurred in defending this

lawsuit, and;

           c) Granting such other relief to Defendant as the Court deems just and proper.



                                                Respectfully submitted,

Dated: November 1, 2022                         KASEN & KASEN, P.C.
Wilmington, Delaware
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